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                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

 ANTHONY M. BEYER, as Trustee of the
 Joseph and Florence Mandel Family
 Foundation – Michele M. and Lawrence R.
 Beyer Family Fund,                                  Case No. 1:25-cv-00473
                   Plaintiff,                        Judge
             v.

 ROBERT C. BEYER, as Trustee of the
 Joseph and Florence Mandel Family
 Foundation – Michele M. and Lawrence R.
 Beyer Family Fund,                                  Demand for Jury Trial
                   Defendant,

 and

 DAVE YOST,
 Ohio Attorney General,

                   Intervenor.

                                           COMPLAINT

         1.       Trustee Anthony M. Beyer brings this action to protect more than $150M in assets

held by the Joseph and Florence Mandel Family Foundation – Michele M. and Lawrence R. Beyer

Family Fund (the “Family Foundation”), a 501(c)(3) charitable organization organized under Ohio

law.

         2.       The Family Foundation is part of a larger foundation, which in 2018 merged

separate foundations previously formed by Joseph, Morton (“Mort”), and Jack Mandel (together,

“the Mandel brothers” and the “Mandel Foundation”). The Mandel brothers were raised in

Cleveland, had deep ties to the city, and maintained a strong desire to give back to the community

that shaped them.



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         3.    For decades, the Family Foundation and its related foundations have funded major

hallmark Ohio institutions, including the Cleveland Clinic and Case Western Reserve University.

For example, the Family Foundation specifically has contributed approximately $1.5 million to

charities in Cleveland in the past three years, including, for example, approximately $375,000 to

the Hebrew Academy of Cleveland, approximately $225,000 to the Friendship Circle of Cleveland,

and $600,000 to various local arts and music programs, such as the Cleveland Uncommon Sound

Project, the Heights Art Collaborative, and the Cleveland Ballet.

         4.    The Family Foundation is governed by a set of regulations (the “Regulations”),1

which structure the foundation to function as a charitable trust. For example, the Regulations refer

to the family members as “trustees” rather than directors, and their pay and distributions function

just like any other charitable trust, as discussed in more detail herein. The Family Foundation is a

charitable trust under R.C. 109.23 and will thus be referred to as one throughout this Complaint.

         5.    Since its inception, the Family Foundation has been ably administered by its

Administrative Trustee, a sophisticated investment company called Parkwood Trust Company

(“Parkwood”), which was handpicked by the Mandel brothers to safeguard the trust assets for the

benefit of the trust’s beneficiaries and various charitable causes. The Mandel brothers created

multiple other trusts and foundations (charitable and non-charitable), many of which are likewise

administered by Parkwood.

         6.    The Mandel brothers set up Parkwood to operate independently from—yet still

involve—the Mandel brothers’ families. To achieve this balance, Parkwood’s Board of Directors




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    Defendant, as co-trustee to the Family Foundation, has access to the Regulations and other
relevant trust documents. Because these trust documents contain confidential and sensitive
information, Plaintiff has not attached them to the Complaint, but will seek leave to file them under
seal at the appropriate time or upon request of the Court.

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is comprised of, among others, between seven and nine independent directors (who cannot have a

financial relationship with Parkwood or a family relationship with the Mandel brothers and their

descendants), one to two directors from members of Joseph Mandel’s family, and one to two

directors from members of Mort Mandel’s family. Parkwood’s Board composition has stayed true

to the Mandel brothers’ wishes, with both family branches maintaining non-controlling

representation on the Board. The Board has ably managed and faithfully followed the trust

documents and executing strategy for long-term sustainability and growth, just as the Mandel

brothers intended.

         7.    That all changed in or around October 2019, when co-trustee Robert C. Beyer began

orchestrating a scheme to seize control over trust assets. Shortly after the last of the original

Mandel brothers died, Robert launched a targeted campaign to pressure and inappropriately

influence Parkwood in an attempt to seize control over the trusts and assets that Parkwood

managed. Robert’s alternative vision was both reckless and contrary to the terms of the governing

documents.

         8.    Indeed, Robert wanted Parkwood to run the trusts like a quasi-hedge fund and

pushed for the trust assets to be moved into riskier, shorter-term investments that could jeopardize

the trusts’ long-term viability. When Parkwood refused to deviate from its mandate to act as a

deliberate steward of the generational trusts, Robert began bullying and harassing Parkwood staff,

and demanded they take improper or unethical actions contrary to the trust’s governing documents

and purpose. After enduring several years of Robert’s mistreatment, in May 2022, through the

ordinary Board election process, Robert’s seat on the Parkwood Board was not renewed.

         9.    Enraged, insulted, and undeterred, Robert continued to rail against Parkwood and

undermine it at every turn. Robert began to purposefully mislead family members to drive a wedge




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between Parkwood and the family. Through his campaign, Robert deceived and manipulated

several other co-trustees—including Michele Beyer (his mother) and Timothy Beyer (his younger

brother)—into seeking to disengage Parkwood so that Robert himself could gain greater influence

over the management of the trust assets and key investment decisions. Specifically, Robert

convinced his mother and his brother to execute an invalid and procedurally improper resolution

purporting to remove Parkwood as the administrator of the Family Foundation. He then sought to

move trust assets to an unregulated company beholden to him rather than committed to the values

and investment strategy outlined by the Mandel brothers and written into the trust’s governing

documents.

         10.   Robert’s actions are both inconsistent with the trust instruments and governing

documents, and disloyal, as they threaten the Family Foundation’s stability and ability to fulfill its

charitable mission. His plan, if successful, would permit Robert to benefit himself at the expense

of, or with reckless disregard for the interests of, the trust’s intended beneficiaries. The trust’s

funding, much of which is dedicated to charitable causes in Ohio, as described above, would

potentially be diverted to satisfy Robert’s personal desire for short-term cash returns.

         11.   As a co-trustee of the Family Foundation, Anthony now brings this action to

enforce the terms of the Regulations, to uphold the original vision and intent of the Mandel

brothers, and to protect the interests of the many organizations that benefit from the Family

Foundation’s support now at risk by Robert’s reckless and self-interested actions.

                                             PARTIES

         12.   Plaintiff Anthony M. Beyer is an individual residing in Palm Beach, Florida and is

a citizen of Florida. Anthony is a trustee of the Family Foundation.




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         13.      Defendant Robert C. Beyer is an individual residing in New York, New York. On

information and belief, he is a citizen of New York. Robert is Anthony’s brother. Robert is also

a trustee of the Family Foundation.

         14.      The Family Foundation is a 501(c)(3) charitable organization incorporated under

the laws of Ohio with its principal place of administration in the State of Ohio.

         15.      Intervenor Dave Yost is the Ohio Attorney General. By reason of Section 109.25

of the Ohio Revised Code, Yost is a necessary party to this action, as an object of this proceeding

is to construe the provisions of a charitable trust instrument.

                                   JURISDICTION AND VENUE

         16.      This Court has jurisdiction over this action under 28 U.S.C. § 1332(a) because the

matter in controversy exceeds the sum of $75,000, exclusive of interest and costs, and is between

citizens of different states.

         17.      This Court has jurisdiction over Defendant Robert C. Beyer because Robert is a

trustee of the Family Foundation, an Ohio organization, and directed his conduct at Ohio by

targeting the Family Foundation to the detriment of the charitable beneficiaries residing in Ohio.

         18.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because the conduct

giving rise to Plaintiff’s claims occurred in, and all or part of Plaintiff’s claims for relief arose in,

this District.

                                    FACTUAL BACKGROUND

    I.         The Mandel Brothers’ Success and Dedication to the Cleveland Community

         19.      In the summer of 1940, the Mandel brothers (Joseph, Mort, and Jack) pooled

together $900 to purchase a small Cleveland auto parts business from their uncle. This small

investment became Premier Automotive Supply Company. It was later renamed Premier Industrial




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Corporation and would go on to become one of the world’s leading industrial parts and electronic

components distributors.

         20.     Premier Industrial Corporation later listed on public exchanges and, by the late

1960s, was listed on the New York Stock Exchange. It served over 100,000 customers across

many countries. In 1996, Premier merged with another company in a $3 billion transaction,

becoming one of the largest industrial and electronic component suppliers in the world.

         21.     The Mandel brothers’ early commercial success allowed them to give back to the

Cleveland community soon after starting the company, and their commitment to civic engagement

and philanthropy would become a central tenet of their adult lives and legacy. They began

donating to charities in the late 1940s and established their first charitable foundation in 1963.

Through their philanthropy, the Mandel brothers have left an indelible mark on Cleveland,

contributing significant sums to local schools, hospitals, cultural institutions, and other non-profit

organizations. Among other institutions and causes, the Mandel brothers’ philanthropy has

supported Case Western Reserve University, Cleveland Clinic, Cleveland Museum of Natural

History, Cleveland Public Library, Jewish Federation of Cleveland, and The Cleveland Orchestra.

In 2022, the Morton L. Mandel CEO Chair and the Morton L. Mandel Innovation Fund were

established with a $30 million grant to the Cleveland Clinic to support pioneering ideas in the

medical field.

         22.     Today, foundations created by the Mandel brothers, including the Family

Foundation discussed in greater detail below, continue to provide funding for numerous non-profit

education, arts, and Jewish organizations in Cleveland and elsewhere.




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    II.         The Mandel Brothers Create a Series of Mandel Family Trusts and Create
                Parkwood to Prudently and Independently Manage Them

          23.      In the early 1960s, the Mandel brothers created an informal group to manage their

families’ investments, including their charitable foundations. Over time, this informal group took

on greater responsibility over the Mandel brothers’ families’ affairs, acting as a liaison between

the Mandel family and their legal advisors and accounting and tax professionals and managing

investments.

          24.      In 1997, the Mandel brothers created Parkwood LLC as a more formal and

professional organization to manage investments and services on behalf of the Mandel family.

Parkwood LLC, operating out of Cleveland, was directed by Mort Mandel, who served as Chief

Executive Officer and Chairman of the Board until his death in October 2019. The purpose of

Parkwood LLC is to serve as the family office of the Mandel family and its affiliated trusts and

charities. Today, it employs a staff of approximately 60 people in Cleveland and Delaware who

are responsible for investment, accounting, tax, legal and estate planning services for Mandel

family members (the beneficiaries of the private trusts) and also for their charitable entities.

          25.      That same year, the Mandel brothers created the Parkwood Trust Company

(“Parkwood”), a private Delaware trust company wholly owned by Parkwood LLC, to serve as a

trustee in several of the Mandel Family Trusts.

          26.      The Mandel brothers purposely set up Parkwood to operate independently from the

family but to still incorporate the voices and perspectives of Mort’s and Joseph’s families; thus,

certain members of the family serve on the Parkwood Board of Directors, including Plaintiff

Anthony M. Beyer and until recently, Defendant Robert C. Beyer, in addition to several

independent directors. But even as the Mandel brothers gave family members a voice within

Parkwood through limited Board representation, they also devised a longstanding anti-nepotism


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policy to ensure that Parkwood remained independent of family influence. This careful balance

struck by the Mandel brothers was purposeful and is a core pillar of their intent and vision for the

government of the various family trusts they created.

         27.   In addition to Parkwood, the Mandel brothers created a series of Mandel Family

Trusts to ensure their families’ financial security and their philanthropic legacy. The Mandel trusts

are categorized as either charitable corporations or private benefit trusts. One of each type of trust

is relevant to this action, and Parkwood plays an important role in each—serving as administrative

trustee for the charitable corporation and trustee for the private benefit trust, as outlined below.

         28.   To provide for his progeny, Joseph Mandel created a series of private trusts—

collectively known as the Grandchildren Trust—comprised of individual private trusts for his

grandchildren (including Anthony and Robert). Parkwood is the sole trustee for the private trusts

contained within the Grandchildren Trust but is permitted under the trust instrument to disengage

from that role for any beneficiary if it chooses to do so. If Parkwood elects to disengage, the

Grandchildren Trust instrument instructs that the disengaged beneficiary must select a new trustee

with Parkwood’s consent. If Parkwood waives consent, the beneficiary must select as the new

trustee a qualified institution. A qualified institution must have at least $10 billion in assets under

management. The trust instrument gives the trustee absolute discretion regarding compensation,

investment decisions, and trust management.

         29.   Separately, the Mandel brothers created the Joseph and Florence Mandel Family

Foundation—Michele M. and Lawrence R. Beyer Family Fund (“the Family Foundation”), a

501(c)(3) nonprofit organization formed under the laws of Ohio. The Family Foundation is

structured to function as a charitable trust. For example, Article I.A. instructs that the primary

purpose of the foundation is charitable. Moreover, the regulations, specifically Article I.B. and




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II.A., distinguish the Administrative Trustee from the Board of Trustees, much like a charitable

trust would.    Additionally, as explained in Article II.D, the trustees get paid out of their

distribution, also like a charitable trust, and per Article III.A, III.B., and III.D.3.b, each trustee is

responsible for a distribution, known as its “charitable fund,” which must be used for charitable

purposes, just as a charitable trust would.

         30.    In addition, the regulations are structured to provide family members with

controlled autonomy in making charitable distributions in an amount equal to 5% of its assets on

an annual basis. There are four trustees: Anthony, Robert, their brother Timothy, and their mother

Michele. The Family Foundation has regulations setting forth its governance, which require

annual and regular meetings, with special meetings callable by any two trustees with 14 days’

notice. Action may be taken by a vote of the trustees at a meeting, and unanimous written consent

is required to take action with no meeting. The Family Foundation is dedicated to benefitting the

City of Cleveland, and, in many cases, communities beyond and has at times had representation

on the Board of Directors of Parkwood.

         31.    Parkwood serves as Administrative Trustee for the Family Foundation and may

only be removed from this role by a vote of all but one member of the Board of Trustees after a

six-month cooling off period, during which time the trustees and Parkwood must attempt to resolve

their differences. Under the regulations, if Parkwood is ultimately removed, any successor trustee

must meet certain financial qualifications to constitute a “qualified institution,” including having

at least $10 billion in assets under management.

         32.    Under this framework, the Family Foundation’s philanthropic giving has helped

grow the Mandel brothers’ lifetime impact to exceed $1 billion, benefitting programs and




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organizations in the United States—with a focus on Cleveland—and Israel.                The Family

Foundation has continued to successfully grow absent any internal turmoil until now.

    III.         Robert Is Removed from Parkwood’s Board for the First Time

           33.      As previously noted, the Mandel brothers initially gave several family members,

including Robert C. Beyer, seats on Parkwood’s Board to ensure that the family had a voice (but

not control) over their trustee’s activities. The Board seats, however, were not guaranteed and a

member could be removed (or not renewed) without cause. This soon came to pass.

           34.      In early 2019, while Mort Mandel was still Chief Executive Officer and Chairman

of the Board of Parkwood LLC, Robert’s behavior prompted Mort to remove Robert from

Parkwood’s Board of Directors. Specifically, upon information and belief, Mort disapproved of

Robert’s continued attempts to inappropriately influence Parkwood staff and disrupt Parkwood’s

administration of the trusts.

           35.      Upon information and belief, Mort thus reduced the number of family member seats

in order to remove Robert’s board seat from the Parkwood Board so that it was not burdened with

a potentially disruptive family member.

    IV.          Mort Mandel Dies, and Robert Stages a Coup Against Parkwood

           36.      Mort died on October 16, 2019.       During Mort’s memorial service, Robert

approached an independent Parkwood Board member, Scott Cowen, about the possibility of

Robert returning to the Board. A Board seat was re-added to allow Robert to rejoin the Board on

a temporary basis.

           37.      After Robert was re-appointed to the Board, he became increasingly focused on

influencing the management of assets in trusts under the Grandchildren Trust of which he is the

primary beneficiary. Rather than working collaboratively within the carefully constructed trust




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framework that intentionally did not allow family members to control or influence investment

decisions, Robert sought to circumvent it for his exclusive benefit, disregarding the impact on

other beneficiaries.

         38.   Throughout his tenure on the Board, Robert attempted to influence Parkwood’s

management of its clients’ investment assets. But Robert was not a member of Parkwood’s

dedicated Investment Committee, which is responsible with providing strategic direction, risk

management guidelines, and general oversight over Parkwood’s management of its clients’

investment assets.

         39.   Parkwood investment staff generally declined to follow Robert’s investment

recommendations. In response, Robert expressed dissatisfaction with and distrust of Parkwood’s

governance structure, directors, offices, employees, and investment approach.

         40.   In May 2022, Robert’s seat on the Board was up for renewal. During Robert’s

evaluation for re-appointment, the Nominating and Governance Committee concluded that Robert

had shown significant lapses in judgment, did not understand the boundaries of management and

the Board, questioned the staff combatively, and had repeatedly violated Board policies—

including most notably its confidentiality obligations. Given this persistent behavior, Parkwood

decided not to renew Robert’s seat on the Board.

         41.   Following the Board’s decision, Robert’s behavior worsened.          He began a

campaign to undermine Parkwood, hiring legal counsel and positioning himself as the de facto

leader of an effort to remove Parkwood as trustee, and influencing other members of the family

(who were not involved in the day-to-day aspects of Parkwood’s activities) to join him, including

by making false and misleading statements about Parkwood and its management of the trusts.




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         42.   During the summer of 2022, Anthony—trusting Robert’s story about Parkwood—

sought information and updates from Robert regarding his legal strategy and efforts to remove

Parkwood as trustee. Robert, however, provided evasive and misleading responses.

         43.   On October 18, 2022, the Boards of Parkwood LLC and Parkwood Trust Company

voted to disengage from the private, individual trusts of which Robert is a beneficiary. The votes

were unanimous with one abstention on the Parkwood LLC Board.

         44.   Although Parkwood could have made the disengagement effective immediately, it

gave Robert six months to reconcile and make amends. Yet Robert made no effort to repair his

relationship with Parkwood; instead, he escalated his tactics by sharing his baseless complaints

regarding Parkwood with additional members of the Mandel family. By way of example, in

December 2022, Robert distributed a confidential, 45-page presentation to several family members

that outlined a targeted attack on Parkwood’s governance and management practices based on false

statements, misrepresentations, and half-truths.

         45.   Robert not only declined to reconcile with Parkwood, but he also unreasonably and

intentionally delayed the process of selecting an appropriate institution to serve as his new

trustee—and continues to do so today.

         46.   In the spring of 2023, Robert informed Parkwood that he intended to form an

unregulated private family trust company (“PFTC”) in Wyoming to serve as successor trustee of

his private trusts. Upon information and belief, Robert chose to create the PFTC in Wyoming

because the jurisdiction allows the entity to be unregulated. Parkwood did not consent to Robert’s

appointment of this trustee because Robert refused to confirm that there would be certain structural

safeguards at the PFTC to protect the trust assets and beneficiaries.




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         47.      Robert continues to refuse to find a replacement. As a result, Robert’s portion of

the Grandchildren Trust is effectively stuck in limbo. Parkwood thus filed suit to establish a

successor trustee for Robert’s trusts (the “Delaware Litigation”). In response, Robert escalated the

conflict to try to increase his leverage, threatening to bring counterclaims alleging bad faith and

other baseless accusations, seeking to disenfranchise Parkwood entirely.

         48.      The Delaware Litigation has taken over 14 months. Upon information and belief,

Robert is not seeking a resolution but is instead employing scorched-earth tactics in the litigation

to force his will on all parties.

    V.         Robert Manipulates Family Members to Join His Cause

         49.      Throughout 2023 and 2024, Robert increased pressure on other family members,

including Michele and Timothy, using exaggerated and even false claims of Parkwood’s alleged

failures to convince them to join him in severing ties with Parkwood.

         50.      For example, Robert represented to his family members that after Mort’s death, the

Parkwood Board more than doubled their own compensation. According to Robert, the Board

implemented a deferred compensation scheme in which their compensation grows when certain

illiquid securities held by Parkwood reach set valuations, even if those valuations do not actually

yield returns. This could not be further from the truth: in reality, after Mort passed, the Board

assumed his management and leadership responsibilities, and so compensation was modified to

reflect their new roles and responsibilities; moreover, the new compensation structure was

appropriately benchmarked against comparable organizations.

         51.      As another example, Robert represented to his family that Parkwood did not give

him a fair opportunity to pick a successor trustee following his disengagement. This is not true.

Robert also misrepresented to others, including his co-trustees, that he was removed from the




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Board of Directors by Parkwood in retaliation because he raised objections and asked questions

regarding Parkwood’s investments and risk management. In actuality, Robert’s seat was not

renewed because he had violated Board policies, asked staff members to do things they believed

were improper or unethical, and otherwise harassed Parkwood staff.

         52.   As yet another example, Robert represented to his family that Parkwood fired a

different Board member, Stephen Weinberg (his uncle), for siding with Robert. In fact, Stephen

willingly recused himself from the Board after the issue was raised with him. Upon information

and belief, Robert made similar false and misleading representations that Parkwood fired its risk

manager in an alleged attempt to dismantle its risk management infrastructure. In reality, the

former risk manager transitioned into a different role while continuing to perform the risk

management function until a different Parkwood employee assumed that role.             Moreover,

Parkwood brought in an external risk consultant to advise on the risk management function during

this time.

         53.   After months of hearing Robert spin tales about Parkwood, Anthony decided to ask

his own questions—including of Parkwood Board members—to get to the bottom of the corruption

and deceit that Robert purportedly was rooting out from the Parkwood entity. What he discovered

was shocking: Robert had been lying to drive a wedge between Parkwood and the family so that

the family would agree to jettison Parkwood as trustee and financial advisor. Anthony also learned

that Robert’s actions were part of a broader scheme to manipulate trust governance for his own

influence and gain. Anthony began to encourage his other family members to treat Robert’s

narrative with caution and to exercise their own independent decision-making before blindly

following Robert’s lead. But it was too late: Robert had so thoroughly misled Michele and




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Timothy that, rather than heed Anthony’s warning, they chose instead to sever communications

with Anthony.

    VI. Robert Induces His Family to Violate the Family Foundation Regulations

         54.    Robert’s years-long and relentless campaign against Parkwood succeeded in

deceiving his co-trustees—his mother Michele and brother Timothy—and caused them to

disengage from Parkwood. Michele, Timothy, and the Family Foundation notified Parkwood of

their disengagement on December 19, 2024, and, under Robert’s influence, Michele and Timothy

purportedly executed an ultra vires resolution (“the Invalid Resolution”) alongside Robert

claiming to officially remove Parkwood as Administrative Trustee to the Family Foundation on or

about January 7, 2025. The Invalid Resolution violates the Regulations in several critical respects.

         55.    First, the Regulations expressly require that any action be taken by a “meeting of

the Board of Trustees” or if “taken without such meeting[, be taken] by a writing or writings signed

by all of the members of the Board.”

         56.    The Regulations also require that “[w]ritten notice of the time and place of each

annual or special meeting of the Board of Trustees shall be given to each Trustee.”

         57.    Here, the Invalid Resolution was executed without Anthony’s knowledge or

consent—either through a meeting that he, as a trustee, was not given proper notice of, or through

an action taken without a meeting that required his signature.

         58.    Second, the Regulations unambiguously require that “[i]f the Board of Trustees of

the Corporation decides . . . to remove Parkwood as Administrative Trustee, the Board of Trustees

must first confer with Parkwood in an attempt to resolve any differences [for] a six (6) month

period following the Board’s delivery of written notice of its desire to remove Parkwood.”




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         59.    In violation of the Regulations, the Invalid Resolution purports to “hereby remove[]

[Parkwood] as the Administrative Trustee,” without having provided any prior written notice to

Parkwood of the Board’s desire to remove Parkwood, much less an attempt to confer with

Parkwood in an attempt to resolve differences for a 6-month period.

         60.    Third, the Regulations expressly hold that if Parkwood is no longer the

Administrative Trustee, “whether by resignation, removal, or otherwise,” then “the successor

Administrative Trustee shall be . . . [a] qualified institution as designated by a majority of the

Board of Trustees.” A qualified institution is defined in turn as an “institution having a total capital

and surplus of at least $1 billion and with fiduciary assets under management of more than $10

billion.” Id.

         61.    Upon information and belief, Robert intends to designate the PFTC as the successor

Administrative Trustee. But at present, the PFTC does not exist, would not be regulated, and is

not a “qualified institution” as defined in the Regulations.

         62.    Judicial intervention is now required to prevent further violations of the Regulations

and subversion of the Mandel brothers’ intentions in creating their charitable trusts. Robert has

jeopardized the longevity and administration of the Family Foundation by disregarding the Family

Foundation’s established governance structure, prioritizing his own personal objectives over the

interests of the charitable beneficiaries, misleading his co-trustees, willfully causing dissonance

among the co-trustees, and failing to exercise proper care in decision-making. His manipulation

of family members, pressure on Parkwood employees, and disregard for fiduciary obligations

demonstrate a clear pattern of misconduct that requires juridical intervention for the sake of the

Family Foundation and its beneficiaries.




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                                   FIRST CAUSE OF ACTION
                           (Breach of Duty of Obedience to Trust Terms)

         63.    Anthony realleges and incorporates the foregoing paragraphs of this Complaint as

if fully written herein.

         64.    As a trustee, Robert owes a duty of obedience to comply with the terms of the trust

instrument to the Family Foundation and to administer the Family Foundation pursuant to its terms

under R.C. 5808.01 and 5812.02, and other provisions of the Ohio Revised Code, and “shall

administer the trust in good faith, in accordance with its terms and purposes and the interests of

the beneficiaries.”

         65.    Robert has breached his duty of obedience to comply with the express terms of the

Regulations, as required of him as Trustee by the Ohio Trust Code and the Trust itself.

         66.    The Family Foundation requires, among other things, that (1) any trustee action be

taken by a “meeting of the Board of Trustees” or if “taken without such meeting[, be taken] by a

writing or writings signed by all of the members of the Board,” (the “Meeting Provision”),2 and

(2) “[w]ritten notice of the time and place of each annual or special meeting of the Board of

Trustees shall be given to each Trustee,” (the “Notice Provision”).

         67.    On or about January 7, 2025, under Robert’s influence, a Family Foundation

resolution purporting to be a legitimate Family Foundation resolution was signed by Robert,

Timothy, and Michele, but not Anthony. There was no “meeting of the Board of Trustees” or

“[w]ritten notice of the time and place” provided to Anthony, as was required by the terms of the

Meeting Provision and Notice Provision of the Regulations. This Invalid Resolution was thus a

breach of the Regulations.




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    Emphasis is added unless otherwise noted.

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         68.   On information and belief, Robert procured Michele and Timothy’s signatures on

the Invalid Resolution through false statements or reckless misrepresentations, including

misrepresentations about Parkwood’s actions and performance and Robert’s ability to manage the

Family Foundation on his own.

         69.   The Regulations further require that “[i]f the Board of Trustees of the Corporation

decides . . . to remove Parkwood as Administrative Trustee, the Board of Trustees must first confer

with Parkwood in an attempt to resolve any differences [for] a six (6) month period following the

Board’s delivery of written notice of its desire to remove Parkwood,” (the “Cooling Off

Provision”).

         70.   The Invalid Resolution provided to Parkwood on or about January 7, 2025, purports

to “hereby remove[] [Parkwood] as the Administrative Trustee,” without having provided any

prior written notice to Parkwood of the Board’s desire to remove Parkwood. Thus, Robert

breached the Cooling Off Provision of the Regulations.

         71.   Robert’s actions constitute a violation of R.C. 5808.01 and 5812.02, and other

provisions of the Ohio Revised Code.

         72.   As a direct and proximate result of Robert’s breach of his duty of obedience to the

trust terms, the Family Foundation has sustained damages in excess of $75,000, the exact and total

amount of which will be determined at or prior to trial.

         73.   By reason of actual and justiciable controversy, the Family Foundation is entitled

to declaratory relief pursuant to R.C. 2721.01, et seq., 28 U.S.C. § 2201, and the Court’s equitable

powers, and the Court should enter an order declaring Robert’s conduct, including and especially

his attempt to appoint the PFTC as Administrative Trustee, is not allowed by the trust document,

and he must instead choose a qualified entity.




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                                 SECOND CAUSE OF ACTION
                                   (Breach of Duty of Loyalty)

         74.    Anthony realleges and incorporates the foregoing paragraphs of this Complaint as

if fully written herein.

         75.    Robert owes a duty of loyalty to the Family Foundation under R.C. 5808.02 and

other provisions of the Ohio Revised Code, and “shall administer the trust solely in the interests

of the beneficiaries.”

         76.    Robert has breached his duty of loyalty, as required of him as a trustee.

         77.    Robert’s actions have created a conflict between his own interests and those of the

Family Foundation.

         78.    Robert’s unregulated Wyoming entity, the PFTC, was raised in the litigation

between Parkwood and Robert in Delaware Chancery Court. Parkwood alleges it could not

consent to Robert’s request to designate the PFTC as trustee, because, among other things, Robert

refused to confirm certain aspects about the proposed structure of the PFTC to ensure certain

safeguards will be in place to protect the trust assets and beneficiaries.

         79.    Upon information and belief, Robert is using the threat of removing Parkwood as

the Administrative Trustee of the Family Fund either (i) as leverage to pressure Parkwood into

consenting to transferring the Grandchildren Trust assets to the PFTC, which would give him

unfettered access to his private trust funds in contravention of the terms of his private trust

instrument or (ii) to gain further control over the assets of the Family Foundation in addition to the

Grandchildren Trust assets. Either of these scenarios is dangerous and, at minimum, demonstrates

a conflict of interest in his role as trustee of the Family Foundation.

         80.    Robert’s conflicted position is underscored by his demand that Parkwood transfer

to the PFTC certain illiquid assets held by Robert’s private trust only after liquidation of these


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illiquid assets, which would necessarily result in losses that would need to be absorbed by

Parkwood and the other funds Parkwood manages (including the Family Foundation).

         81.   Moreover, misleading his co-trustees and willfully causing dissonance among them

so that they cannot carry out their duties as trustees of the Family Foundation—in order to exert

his will over Parkwood and the trust assets—is disloyal to the Family Foundation.

         82.   Further, Robert’s attempt to move the Family Foundation to the unregulated PFTC

is a transparent effort to benefit himself at the expense of the beneficiaries of the Family

Foundation, including numerous charities and non-profit entities in Cleveland.

         83.   Additionally, Robert’s successor trustee selection constitutes self-dealing: if the

Family Foundation funds are transferred to the unregulated entity in Wyoming, the Family

Foundation will lose the benefits of the size, sophistication, institutional knowledge, and—most

importantly—short- and long-term protection of Parkwood’s investment apparatus.

         84.   Robert’s actions constitute a violation of R.C. 5808.01 and 5808.02, and other

provisions of the Ohio Revised Code.

         85.   As a direct and proximate result of Robert’s breach of his duty of loyalty to the

Family Foundation, the Family Foundation has sustained damages in excess of $75,000, the exact

and total amount of which will be determined at or prior to trial.

         86.   By reason of actual and justiciable controversy, the Foundation is entitled to

declaratory relief pursuant to R.C. 2721.01, et seq., 28 U.S.C. § 2201, and the Court’s equitable

powers, and the Court should enter an order declaring Robert’s conduct, including and especially

his attempt to appoint the PFTC as Administrative Trustee, is not allowed by the trust document,

and he must instead choose a qualified entity.




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                                THIRD CAUSE OF ACTION
                            (Breach of Duty of Care and Prudence)

         87.    Anthony realleges and incorporates the foregoing paragraphs of this Complaint as

if fully written herein.

         88.    Robert owes a duty of care and prudence to the Family Foundation under

R.C. 5808.01 and 5808.04, and other provisions of the Ohio Revised Code, and “shall administer

the trust as a prudent person would and shall consider the purposes, terms, distributional

requirements, and other circumstances of the trust.”

         89.    Robert has breached his duty of care and prudence, as required of him as Trustee

by the Ohio Trust Code and the Trust itself.

         90.    Robert’s attempt to abscond with the Family Foundation’s assets to an unregulated

Wyoming entity that he controls without appropriate protections or investment expertise is not

prudent and will significantly increase the risk to the trust property. And Robert’s means of

carrying out his will (by misleading his co-trustees and breaching the trust documents) constitute

breaches of his fiduciary duty as a trustee. Robert’s unacceptable actions have placed reasonable

income and preservation of capital for the Family Foundation in serious jeopardy.

         91.    The PFTC does not manage the amount of funds needed to attract the caliber of

investment professionals Parkwood employs and is an untested venture that is inherently risky due

to its lack of experience and investment expertise. Upon information and belief, the PFTC does

not exist yet (and does not even have written bylaws in place).

         92.    Robert’s ongoing attempt to move the entire Family Foundation puts the funds in

the Family Foundation at serious risk.

         93.    Robert’s actions constitute a violation of R.C. 5808.01 and 5808.04 of the Ohio

Trust Code and other provisions of the Ohio Revised Code.


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         94.    As a direct and proximate result of Robert’s breach of his duty of care and prudence

to the Family Foundation, the Family Foundation has sustained damages in excess of $75,000, the

exact and total amount of which will be determined at or prior to trial.

         95.    By reason of actual and justiciable controversy, the Family Foundation is entitled

to declaratory relief pursuant to R.C. 2721.01, et seq., 28 U.S.C. § 2201, and the Court’s equitable

powers, and the Court should enter an order declaring Robert’s conduct, including and especially

his attempt to appoint the PFTC as Administrative Trustee, is not allowed by the trust document,

and he must instead choose a qualified entity.

                                 FOURTH CAUSE OF ACTION
                               (Removal of Trustee - R.C. 5807.06)

         96.    Anthony realleges and incorporates the foregoing paragraphs of this Complaint as

if fully written herein.

         97.    The Court may remove a trustee if the trustee has committed a serious breach of

the trust, if there has been a lack of cooperation which substantially impairs the administration of

the trust, or because of unfitness, unwillingness, or persistent failure of the trustee to administer

the trust effectively that best serves the interests of the beneficiaries as provided in R.C. 5807.06.

         98.    Robert has committed a serious breach of trust by intentionally failing to follow the

terms of the Regulations, including Meeting and Notice Provisions, in order to induce his co-

trustees to buy into his scheme to lure them away from Parkwood and towards his PFTC.

         99.    Robert has committed a serious breach of trust by knowingly making false and

exceedingly misleading statements to his co-trustees in order to induce them to buy into his scheme

to lure them away from Parkwood and towards his PFTC.

         100.   Robert has demonstrated an unfitness, unwillingness, and persistent failure as to

administer the trust effectively and in accordance with the intent of the settlors.


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         101.   Robert has breached numerous fiduciary duties as trustee of the Family Foundation,

including to protect the trust assets, loyalty, due care and prudence, and manage the trust in a way

that benefits the beneficiaries.

         102.   Pursuant to R.C. 5807.06, the Court should order the removal of Robert as Trustee

of the Family Foundation.

                                   FIFTH CAUSE OF ACTION
                                     (Declaratory Judgment)

         103.   Anthony realleges and incorporates the foregoing paragraphs of this Complaint as

if fully written herein.

         104.   Anthony seeks declaratory judgment pursuant to R.C. 2721.01, et seq.,

28 U.S.C. § 2201, and the Court’s equitable powers, that Robert’s conduct, including and

especially his attempt to appoint the PFTC as administrative trustee, is not allowed by the trust

document, and he must instead choose a qualified entity.

         105.   A real and justiciable controversy exists between Anthony and Robert as to each

party’s respective rights and obligations regarding the administration and management of the

Family Foundation.

         106.   Speedy and effective relief is necessary to preserve the rights of the Family

Foundation and Anthony, as Trustee of the Family Foundation, and a declaratory judgment will

resolve the dispute.

                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff’s

favor and against Defendant Robert C. Breyer, and:

                a.     Enter an order declaring Robert’s conduct, including and especially his

                       attempt to appoint the PFTC as Administrative Trustee, is prohibited by the


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                   trust document, and he must instead choose a qualified entity as that term is

                   defined by the trust document;

              b.   Enter an order declaring the PFTC is not a qualified entity under the trust

                   documents;

              c.   Enter an order removing Robert as Board of Trustees of the Family

                   Foundation as a trustee for:

                    (i)    committing a serious breach of trust by breaching the trust documents;

                    (ii)   failing to protect the trust assets by attempting to move them to an

                           unregulated Wyoming entity;

                    (iii) attempting to improperly influence and mislead other trustees; and

                    (iv) refusing to cooperate among the co-trustees in ways that do not serve

                           the interest of the beneficiaries;

              d.   Award damages and costs against Defendant Robert C. Beyer, including

                   compensatory and any available exemplary or punitive damages, in an

                   amount to be determined at or prior to trial in no event less than $75,000

                   exclusive of applicable interest, costs and attorneys’ fees, all of which

                   continue to accrue;

              e.   Award pre- and post-judgment interest on any and all damages;

              f.   Award Plaintiff his costs, including his reasonable attorneys’ fees and

                   litigation expenses, pursuant to R.C. 2721.16 and 5810.01; and

              g.   Order such other, further, and general relief as is just and proper.




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                                          Respectfully submitted,

 Dated: March 10, 2025                      s/ Matthew J. Cavanagh
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                                        JURY DEMAND

Pursuant to Civ. R. 38, Plaintiff hereby demands a trial by jury on all issues and claims so triable.



                                               s/ Matthew J. Cavanagh
                                              Counsel for Plaintiff Anthony Beyer




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